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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA

 UNITED STATES OF AMERICA                         INDICTMENT

                      v.                          Case No. _______________________

 MACALLA LEE KNOTT, a/k/a KAYLA                   Violation: 21 U.S.C. § 846


 Conspiracy to Possess with Intent to Distribute and Distribute Controlled Substances

The Grand Jury Charges:

       From in or about January 2019 and continuously until the date of this Indictment, in

the Districts of North Dakota, Minnesota, and elsewhere,

                            MACALLA LEE KNOTT, a/k/a KAYLA,

did knowingly and intentionally combine, conspire, confederate, and agree together and

with others, both known and unknown to the grand jury, to possess with intent to distribute

and distribute 500 grams or more of a mixture and substance containing a detectable amount

of methamphetamine, a Schedule II controlled substance, and a mixture and substance

containing cocaine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1), and Title 18, United States Code, Section 2.

                                  PRIOR CONVICTIONS

       In accordance with Title 21, United States Code, Sections 841 and 851, the Grand

Jury finds the following:

       Before MACALLA LEE KNOTT, a/k/a KAYLA, committed the offense charged in

this Indictment, MACALLA LEE KNOTT, a/k/a KAYLA, had a final conviction for the

following serious drug felony for which she served more than 12 months of imprisonment
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and for which she was released from serving any term of imprisonment related to that

offense within 15 years of the commencement of the instant offense: Controlled Substance

Crime – 1st Degree Sale in violation of Minnesota Statute § 152.021.1(1), in Stearns County,

Minnesota, in case number 73-CR-16-6520; Judgment entered on October 26, 2017, in

District Court, 7th Judicial District.

                                          Overt Acts

       In furtherance of this conspiracy and to effect and accomplish the objects of it, one or

more of the conspirators committed the following overt acts:

       1. Members of the conspiracy were receiving controlled substances directly from the

Sinaloa cartel in Mexico. Controlled substances were imported into the United States and

shipped to Minnesota, North Dakota, and elsewhere in the United States for distribution.

Members of the conspiracy paid money for these controlled substances directly or indirectly

to Sinaloa cartel members in the United States and Mexico;

       2. It was a part of said conspiracy that the defendant and others would and did

possess with intent to distribute and did distribute 500 grams or more of a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance, within the states of North Dakota, Minnesota, and elsewhere;

       3. It was a part of said conspiracy that the defendant and others would and did

possess with intent to distribute and did distribute a mixture and substance containing a

detectable amount of cocaine, a Schedule II controlled substance, within the state of

Minnesota, and elsewhere;
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       4. It was further a part of said conspiracy that the defendant and others would and did

use violence and the threat of violence to ensure payment and to attempt to conceal their

activities;

       5. It was further a part of said conspiracy that the defendant and others would and

did use telecommunication facilities, including various smart phone applications, in an

effort to hide illicit communications from law enforcement;

       6. It was further a part of said conspiracy that the defendant and others would and did

use United States currency in their drug transactions;

       7. On September 15, 2021, co-conspirators distributed approximately 28 grams

(one ounce) of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in Fargo, North Dakota;

       8. On September 21, 2021, co-conspirators distributed approximately 14 grams

(1/2 ounce) of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in Fargo, North Dakota;

       9. On September 28, 2021, co-conspirators distributed approximately 113 grams

(4 ounces) of a mixture and substance containing a detectable amount of methamphetamine,

a Schedule II controlled substance, in Fargo, North Dakota;

       10. On October 7, 2021, co-conspirators possessed approximately 453 grams (1

pound) of a mixture and substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, with the intent to distribute in Fargo, North Dakota;
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       11. On October 20, 2021, co-conspirators possessed approximately 453 grams (1

pound) of a mixture and substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, with the intent to distribute in Alexandria, Minnesota;

       12. On October 21, 2021, co-conspirators possessed approximately 2,265 grams (5

pounds) of a mixture and substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, with the intent to distribute in Melrose, Minnesota; and

       13. Defendant MACALLA LEE KNOTT, a/k/a KAYLA, was a leader, organizer,

manager, and supervisor in this conspiracy;

       In violation of Title 21, United States Code, Section 846; Pinkerton v. United States,

328 U.S. 640 (1946).

                                          A TRUE BILL:



                                          _________________________________
                                          /s/ Foreperson
                                          Foreperson

/s/ Nicholas W. Chase
NICHOLAS W. CHASE
United States Attorney

CCM:ld
